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May 10, 2018
BY ELECTRONIC CASE FILING

Honorable Steven L. Tiscione
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Chambers: Room N505
Brooklyn, New York 11201

Wanda Timms vy. Citibank, N.A.
18-CV-1702 (RJD) (SLT)

Citibank’s Request for Extension of Time to Respond to the Complaint

Dear Magistrate Judge Tiscione:

Moments ago we were retained as counsel to defendant Citibank, N.A. in
the referenced matter. We write pursuant to this Court’s Individual Practice Rules to
approve an extension of time by which to respond to plaintiff's complaint to and
including June 7, 2018. This is Citibank’s first request for such an extension.
Citibank’s original time to respond was May 9, 2018. We are advised by Citibank’s in-
house counsel that plaintiff's counsel has consented to this request. This request is
made because the parties are actively attempting to resolve this matter without having to
incur the expense of costly litigation.

By reason of the foregoing, we ask this Court to grant the requested
extension of time by which Citibank must respond to the summons and complaint.

 

BJG:dct

cc:Matthew A, Schedler, Esq. (by ECF and e-mail)
